Case 19-11466-MFW_ Doc 4741-3 Filed 06/26/23

IN THE UNITED STATES BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE

in re:
Chapter 11
CENTER CITY HEALTHCARE, LLC
d/bfa HAHNEMANN UNIVERSITY Case No. 19-11466 (MFN}
HOSPITAL, etal. !
Related to Docket Nos. 4564 and __
Debtors.

ORDER GRANTING MOTION BY LINDA RAMSEY, ESQUIRE
MODIFYING THE AUTOMATIC STAY TO PERMIT PAYMENT
AND/OR ADVANCEMENT OF DEFENSE COSTS ASD SEFFLEMENT
AMOLUMES UNDER AN EMPLOYED LAWYERS LIABILITY
POLICY PROVIDING INSURANCE COVERAGE FOR LEGAL
MALPRACTICE CLAIMS ASSERTED BY THE DEBTORS

Upon consideration of the motion of Linda Ramsey, Esquire (“Ramsey” or “Ingured”) for
an order authorizing Federal [Insurance Company (“Federal”) to pay and/or advance Defense Costs
under an Employed Lawyers Liability Policy, Policy No. 8255-7330 (the “Motion”), and it
appearing that due and sufficient notice of the Motion having been given, and it appearing that no
further notice need be provided; and it appearing that the relief requested by this Motion is in the
best interests of the Debtors, the Insured and other parties in interest and it appearing that the Court
has jurisdiction to consider this Motion and the relief requested therein; and after due deliberation
and sufficient cause appearing therefore; it is hereby

ORDERED THAT:

1 The Motion is GRANTED, as set forth herein.

The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number,
are: Center City Healthcare. LLC (3341). Philadelphia Academic Health System. LLC (8681). St.
Chnstopher's Healthcare, LLC (8395). Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
L.LC. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher's Pediatric Urgent Care Center,
L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), SiChris Care at Northeast Pediatrics.
L.LC, (4056), TPS of PA, LLC. (4862), TPS It of PA, L.L.C. ($534), TPS UL of PA. L.L.C. (5536), TPS
IV of PA. L.L-C. (5537}, and TPS ¥ of PA. L_L.C. (5540). The Debtors” mailing address is 216 North Broad
Street, 4th Floor, Philadelphia, Pennsylvania 19102.

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2. Ramsey is an Insured under Federal Policy No. 8255-7330. (“Federal Policy”).

3. The automatic stay provided-for-underof section 362(a) of the Bankruptcy Code ts
hereby modified, to the extent applicable and necessary, to allow Federal to pay and/or advance
Defense Costs under and in accordance with the terms and conditions of the Federal Policy for the
benefit of Ramsey, +ho ss properly ented to a defense under the Poliy for the renmburserneat

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4, The entry of this order shall not modify or otherwise alter the parties’ rights and
obligations provided under the terms and conditions of the Federal Policy, and all such rights,
claims and defenses thereunder are expressly reserved.

5, For the avoidance of doubt, any settlement of the Debtors* claims against Ramsey
shall be subject to separate Court approval pursuant to Bankruptcy Rule 9019.

6. This Order shall have immediate effect and shall not be subject to the stay set forth
in Rule 4001 (a) (3) of the Federal Rules of Bankruptcy Procedure.

7. This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation or implementation of this Order.

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